                Case 20-20259-RAM          Doc 8       Filed 09/23/20   Page 1 of 18




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov
In re:
                                                         Chapter 11

IT’SUGAR FL I LLC,                                       Case No. 20-20259-RAM
IT’SUGAR LLC,                                            Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                              Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                       Case No. 20-20264-RAM
                                                         (Joint Administration pending)
            Debtors.
_______________________________/

              CONSOLIDATED CHAPTER 11 CASE MANAGEMENT SUMMARY

         In compliance with Local Rule 2081-1(B), the Debtors-in-Possession, It’Sugar FL I LLC,

It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC (collectively, “It’Sugar” or

the “Debtors”), file this Consolidated Chapter 11 Case Management Summary and state:

         The following data represents approximations for background information only and the

information represents the Debtors’ best estimate in response to some of the ensuing questions.

         1.     Date of Order for Relief under chapter 11 (filing date of petition if voluntary chapter

11 petition): September 22, 2020.

         2.     Names, case numbers and dates of filing of related debtors (all Petitions were filed

on September 22, 2020):

                It’Sugar FL I LLC, Case No. 20-20259-RAM;
                It’Sugar LLC, Case No. 20-20261-RAM;
                It’Sugar Atlantic City LLC, Case No. 20-20263-RAM; and
                It’Sugar FLGC LLC, Case No. 20-20264-RAM.




                                                   1
               Case 20-20259-RAM            Doc 8       Filed 09/23/20    Page 2 of 18




        3.      Description of the Debtors’ business: The Debtors operate as a single business and

are known throughout the industry as It'Sugar. It'Sugar is a specialty candy retailer whose products

include bulk candy, candy in giant packaging, and licensed and novelty items. It'Sugar’s portfolio

includes approximately 100 retail locations across 28 states.

        4.      Locations of t h e Debtors’ operations and whether the business premises are

leased or owned: All business premises (including store locations) are leased. See Schedule of

Stores attached as Exhibit A. The Debtors own no real property.

        5.      Reasons for filing chapter 11: It’Sugar operates approximately 100 retail stores

across the country. In connection with the COVID-19 pandemic, in March 2020, It’Sugar was

forced to close all retail locations and furlough all store employees, along with a majority of

corporate employees. Over the next several months, It’Sugar reopened approximately 90 retail

locations and began recalling furloughed employees, but regularly must close individual locations

due to staffing shortages or local government mandates. It’Sugar’s sales declined during the

second quarter of 2020 by approximately 48% compared to 2019. There is no assurance that sales

will improve or will not continue to decline, as the duration and severity of the COVID-19

pandemic and its effects remain uncertain. As a result of the closure of its stores and decreased

sales, It’Sugar ceased paying rent to landlords in April 2020. While negotiations with landlords

have been ongoing, a number of It’Sugar’s leases are no longer market value and It’Sugar has

accrued unpaid rent obligations of approximately $7.5 Million, thus necessitating bankruptcy in

order to reject certain leases and restructure It’Sugar’s corresponding debt.

        6.      List of officers and directors, if applicable, and their salaries and benefits at the time

of filing and during the 1 year prior to filing:



                                                    2
       Case 20-20259-RAM          Doc 8       Filed 09/23/20   Page 3 of 18




     It’Sugar FL I LLC, It’Sugar LLC, and It’Sugar Atlantic City LLC

       a)      Jeffrey Rubin, Chief Executive Officer and Manager: Mr. Rubin receives

an annual salary of $375,000 and the following benefits: health, dental and life insurance,

and reimbursement of expenses paid related to the Debtors, including cell phone. Mr.

Rubin’s salary is initially paid by BBX Sweet Holdings, LLC (“Sweet Holdings”) and

reimbursed 100% by the Debtors. Mr. Rubin’s benefits are paid by the Debtors.

       b)      Anton Gladnikov, Chief Financial Officer and Manager: Mr. Gladnikov

receives an annual salary of $180,000 and the following benefits: health, dental and life

insurance, and reimbursement of expenses paid related to the Debtors, including cell phone.

Mr. Gladnikov’s salary is initially paid by Sweet Holdings and reimbursed 85% by the

Debtors. The remaining 15% of Mr. Gladnikov’s salary is allocated to his work for Sweet

Holdings that is unrelated to the Debtors. Mr. Gladnikov’s benefits are paid by the Debtors.

       c)      Maryanne Scaffidi, Chief HR Officer: Ms. Scaffidi receives an annual

salary of $220,000 and the following benefits: health, dental and life insurance, and

reimbursement of expenses paid related to the Debtors, including cell phone. Ms. Scaffidi

salary is initially paid by Sweet Holdings and reimbursed 85% by the Debtors. The

remaining 15% of Ms. Scaffidi’s salary is allocated to her work for Sweet Holdings that is

unrelated to the Debtors. Ms. Scaffidi’s benefits are paid by the Debtors.

       d)      Jonathan Schwartz, Assistant Vice-President of Real Estate and Business

Development: Mr. Schwartz receives an annual salary of $183,750 and the following

benefits: health, dental and life insurance, and reimbursement of expenses paid related to

the Debtors, including cell phone. Mr. Schwartz’ salary is initially paid by BBX Capital

and reimbursed 75% by the Debtors. The remaining 25% of Mr. Schwartz’ salary is

                                          3
               Case 20-20259-RAM            Doc 8       Filed 09/23/20   Page 4 of 18




        allocated to his work for BBX Capital that is unrelated to the Debtors. Mr. Schwartz’

        benefits are paid by the Debtors.

                e)      Steve Parris, Vice President of Information Technology: Mr. Parris receives

        an annual salary of $190,000 and the following benefits: health, dental and life insurance,

        and reimbursement of expenses paid related to the Debtors. Mr. Parris’s salary and benefits

        are paid by the Debtors.

                f)      Jarett S. Levan, Interim Chief Operating Officer: Mr. Levan does not

        receive a salary or benefits from the Debtors.

                                         It’Sugar FLGC LLC

                g)      Jeffrey Rubin, Chief Executive Officer and Manager (see above).

                h)      Anton Gladnikov, Chief Financial Officer and Manager (see above).

        7.      Debtors’ fiscal or calendar year to date gross income and the Debtors’ gross income

for the calendar or fiscal year prior to the filing of this petition:

                a)      Gross Income for the period December 29, 2019 through September 22,

        2020 is estimated at $30.6 million; and

                b)      Gross income for the fiscal year 2019 is $85.4 million.

        8.      Amounts owed to various creditors:

                a)      Obligations owed for priority taxes:

                        i)      Sales/Use Tax: estimated at $150,000; and

                        ii)     Tangible Property Tax: estimated at $10,000.

                b)      With respect to creditors holding secured claims, the name of and amounts

        owed to such creditors and a description and estimated value of all collateral of the Debtors



                                                    4
              Case 20-20259-RAM          Doc 8       Filed 09/23/20    Page 5 of 18




       securing their claim: SHL Holdings, Inc. (“Secured Lender”);1 see UCC-1 Schedule 1

       attached as Exhibit B for a description of the collateral valued at approximately

       $12,907,320; Secured Lender is owed approximately $6,300,000 plus interest.

               c)     Amount of unsecured claims: approximately $10.5 Million, including rents.

       9.      General description and approximate value of the debtors’ assets:

               a)     Cash on hand and on deposit in bank accounts: $500,000;

               b)     Retail inventory (estimated as of 9/22/2020): $5,607,320; and

               c)     Various furniture, fixtures, equipment, and supplies, valued at

       approximately $6,200,000, subject to appraisal.

       10.     List of all insurance policies, the property covered under the policy, the name of the

insurer, the policy number, amount of coverage, whether the premium is current, the date the next

premium is due and date the policy expires: see Schedule of Insurance Policies attached as Exhibit

C.

       11.     Number of employees and amounts of wages owed as of petition date: As of the

Petition Date, the Debtors employ a total of 598 employees who are owed an aggregate of

approximately $400,000 of net gross wages prepetition.

       12.     Status of Debtors’ payroll and sales tax obligations, if applicable. This does not

eliminate the obligation of chapter 11 debtors (other than individuals not engaged in business) to

provide the more detailed payroll tax information required by Local Rule 2081-1(A): the Debtors




1
  SHL shares a common, ultimate parent with the Debtor. More specifically, BBX Capital Florida,
LLC wholly owns It’Sugar Holdings LLC, which owns 90% of the common membership interests
in It’Sugar, LLC. BBX Capital Florida, LLC, through wholly owned subsidiaries, also owns SHL.
SHL acquired the described debt from Bank in America in April 2020.
                                                 5
              Case 20-20259-RAM        Doc 8       Filed 09/23/20   Page 6 of 18




owe payroll taxes for the prepetition payroll period only in the approx. amount of $75,000 and

sales taxes as of September 22, 2020 in the approx. amount of $130,000.

       13.    Anticipated emergency relief to be requested within a few days (First Day Motions):

              a)      Debtors’ Emergency Motion for (A) Authority to (I) Maintain Certain Bank

       Accounts and Continue to Use Existing Business Forms and Checks, and (II) Continue to

       Use Existing Cash Management System, and (A) Waiver of Certain Investment and

       Deposit Guidelines;

              b)      Debtors’ Emergency Motion for Authorization to (I) Pay Certain

       Prepetition Employee Obligations and Maintain and Continue Employee Benefits and

       Programs; and (II) For Banks and Other Financial Institutions to Honor and Process Checks

       and to Honor Transfers Related to Such Obligations;

              c)      Debtors’ Emergency Motion Pursuant to Sections 105(a), 363(b), and

       503(b)(1) of the Bankruptcy Code for Authorization to Honor Certain Prepetition Customer

       Programs;

              d)      Debtors’ Emergency Motion for Authorization to (I) Continue Insurance

       Programs and (II) Pay All Insurance Obligations;

              e)      Emergency Motion of the Debtors for Interim and Final Orders (I)

       Authorizing Debtor (A) to Obtain Postpetition Financing from SHL Holdings, Inc.; and

       (B) to Utilize Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the

       Automatic Stay, (IV) Scheduling Final Hearing; and (V) Granting Related Relief;

              f)      Application of the Debtors for an Order, on an Interim Basis, Authorizing

       the Employment and Retention of Meland Budwick, P.A. as Attorneys for the Debtors and

       Debtors-In-Possession Nunc Pro Tunc to the Petition Date;

                                               6
             Case 20-20259-RAM        Doc 8       Filed 09/23/20   Page 7 of 18




             g)     Application of the Debtors for an Order, on an Interim Basis, Authorizing

      the Employment and Retention of Ricki S. Friedman, Esq. and the Law Firm of Ricki S.

      Friedman PLLC as Special Counsel Nunc Pro Tunc to September 22, 2019;

             h)     Application of the Debtors Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to

      (I) Retain Algon Capital, LLC d/b/a Algon Group to Provide the Debtors a Chief

      Restructuring Officer and Certain Additional Personnel and (II) Designate Troy Taylor as

      Chief Restructuring Officer for the Debtors Nunc Pro Tunc to September 22, 2020;

             i)     Debtors’ Motion Pursuant to Section 503(B)(9) of the Bankruptcy Code to

      Establish Procedures for Submitting and Resolving Claims Related to Goods Received

      Within Twenty Days Prior to the Petition Date; and

             j)     Debtors’ Emergency First Omnibus Motion to Reject Unexpired Leases.

Dated: September 23, 2020.
                                                    s/ Michael S. Budwick
                                                    Michael S. Budwick, Esquire
                                                    Florida Bar No. 938777
                                                    mbudwick@melandbudwick.com
                                                    Joshua W. Dobin, Esquire
                                                    Florida Bar No. 93696
                                                    jdobin@melandbudwick.com
                                                    James C. Moon, Esquire
                                                    Florida Bar No. 938211
                                                    jmoon@melandbudwick.com
                                                    MELAND BUDWICK, P.A.
                                                    3200 Southeast Financial Center
                                                    200 South Biscayne Boulevard
                                                    Miami, Florida 33131
                                                    Telephone: (305) 358-6363
                                                    Telecopy: (305) 358-1221
                                                    Proposed Attorneys for Debtors




                                              7
                    Store No.   Store Name                Store Address                              City                 State   Zip




                                                                                                                                          EXHIBIT A
                      1000      Deerfield Office          3155 SW 10th St                            Deerfield Beach      FL      33442
                      1001      Atlantic City             1 Atlantic Ocean, #1110                    Atlantic City        NJ      08401
                      1002      Aventura                  19575 Biscayne Boulevard, #115             Aventura             FL      33180
                      1003      Myrtle Beach              1211 Celebrity Circle, #136                Myrtle Beach         SC      29577
                      1004      Universal                 1000 Universal Studios Bloulevard, #120    Universal City       CA      91608
Page 8 of 18




                      1006      Plaza Bonita              3030 Plaza Bonita Road, #2268              National City        CA      91950
                      1008      Deer Park                 152 Arches Circle, Suite 407               Deer Park            NY      11729
                      1010      Town Square               6587 Las Vegas Boulevard South, #176       Las Vegas            NV      89119
                      1011      Jersey Shore              1 Premium Outlets Boulevard, #810          Tinton Falls         NJ      07753
                      1012      Orlando                   8200 Vineland Avenue, #118                 Orlando              FL      32821
                      1013      Emeryville                5624 Bay Street                            Emeryville           CA      94608
Filed 09/23/20




                      1014      Grapevine Mills           3000 Grapevine Mills Parkway, Suite #413   Grapevine            TX      76051
                      1016      Branson                   809 Branson Landing                        Branson              MO      65616
                      1017      Scottsdale                15147 N Scottsdale Road, #165              Scottsdale           AZ      85254
                      1018      Baltimore Harbor          201 Pratt Street                           Baltimore            MD      21202
                      1019      Valley Fair               2855 Stevens Creek Boulevard, #2231        San Jose             CA      95050
                      1020      Tempe                     2000 E Rio Salado Parkway, Space 1072      Tempe                AZ      85281
Doc 8




                      1021      Downtown at the Gardens   11701 Lake Victoria Gardens AVE #2103      Palm Beach Gardens   FL      33410
                      1022      Sunset Place              5701 Sunset Drive, #224                    Miami                FL      33143
                      1023      Opry Mills                122 Opry Mills Drive                       Nashville            TN      37214
Case 20-20259-RAM




                      1024      The Venetian              3377 Las Vegas Boulevard S, Space 2030     Las Vegas            NV      89109
                      1025      Fisherman's Wharf         333 Jefferson Street, Space B-101          San Francisco        CA      94133
                      1027      Victoria Gardens          12485 N Mainstreet                         Rancho Cucamonga     CA      91739
                      1028      NYC UWS                   1870 Broadway- Unit B                      New York             NY      10023
                      1029      Santa Cruz                110 Cooper Street, Suite 100-C             Santa Cruz           CA      95060
                      1030      Desert Ridge              21001 N Tatum Boulevard, #36-1170          Phoenix              AZ      85050
                      1031      Southpoint                8030 Renaissance Parkway, Suite 925        Durham               NC      27713
                      1032      Orlando 2                 4973 International Dr. #3F.02              Orlando              FL      32819
                      1033      West Delray               9169 West Atlantic Ave #112                Delray Beach         FL      33446
                      1034      Gurnee Mills              6170 West Grand Ave# 477                   Gurnee               IL      60031
                      1035      Phoenix Premium           4976 Premium Outlets Way #414              Chandler             AZ      85226
                      1036      Charleston                50 N. Market Street                        Charleston           SC      29401
                      1037      Coney Island              1232 Surf Avenue                           Brooklyn             NY      11224
                    Store No.   Store Name                Store Address                                   City              State   Zip
                      1038      NoHo                      665 Broadway                                    New York          NY      10012
                      1040      Washington DC             714 7th Street NW                               Washington        DC      20001
                      1041      Fashion Island            1021 Newport Center Drive                       Newport Beach     CA      92660
                      1042      Station Park              930 W Forbush Place #B100                       Farmington        UT      84025
                      1043      Huntsville                340 The Bridge Street #116                      Huntsville        AL      35806
Page 9 of 18




                      1045      Atlantic Station          264 19th Street NW, Building 2 Suite 2100-B A   Atlanta           GA      30363
                      1046      Lynnfield                 535 Market Street                               Lynnfield         MA      01940
                      1047      Key West                  117 Duval St                                    Key West          FL      33040
                      1050      Westgate                  6751 North Sunset Blvd Suite E-107              Glendale          AZ      85305
                      1051      Delray II- Atlantic Ave   250 E. Atlantic Avenue                          Delray Beach      FL      33444
                      1052      Katy Mills                5000 Katy Mills Circle, Ste 631                 Katy              TX      77494
Filed 09/23/20




                      1053      National Harbor           6800 Oxon Hill Rd, Ste 880                      National Harbor   MD      20745
                      1054      UES                       1542 3rd Avenue                                 New York          NY      10028
                      1055      Washingtonian             216 Boardwalk Place                             Gaithersburg      MD      20878
                      1056      Riverwalk                 500 Port of New Orleans Place, Ste. 150         New Orleans       LA      70130
                      1057      Madison                   542 State Street                                Madison           WI      53703
                      1058      Country Club Plaza        445 West 47th Street                            Kansas City       MO      64112
Doc 8




                      1059      Brooklyn                  210 Joralemon St. Space E                       Brooklyn          NY      11201
                      1060      Monterey                  751 Cannery Row, Ste. 129                       Monterey          CA      93940
                      1061      Sevierville               1645 Parkway, Space 1125                        Sevierville       TN      37862
Case 20-20259-RAM




                      1063      3rd Street Prom           1427 3rd Street Promenade, Ste. # 102           Santa Monica      CA      90401
                      1064      Pembroke Pines            406 SW 145th Terr                               Pembroke Pines    FL      33027
                      1066      Summerlin                 1980 Festival Plaza, Ste 195                    Las Vegas         NV      89135
                      1067      Rivercenter               849 E. Commerce St, #681                        San Antonio       TX      78205
                      1069      Niagara Falls             1803 Fashion Outlets Blvd, Space 284            Niagara Falls     NY      14304
                      1070      Venice Beach              2017 Ocean Front Walk                           Venice Beach      CA      90291
                      1071      VA Beach                  209 Central Park Ave, Space # 3                 Virginia Beach    VA      23462
                      1072      Meridian                  3693 E. Longwing Lane, Space #130               Meridian          ID      83646
                      1073      Barefoot Landing          4722 C-Highway 17 South                         N. Myrtle Beach   SC      29582
                      1074      Arundel Mills             7000 Arundel Mills Circle, Space 341            Hanover           MD      21076
                      1075      Foxwood Outlets           455 Trolley Line Blvd, Ste 380                  Mashantucket      CT      06338
                      1076      Denver Pavilions          500 16th Street, 184A                           Denver            CO      80202
                      1077      Coconut Creek             4437 Lyons Rd, Ste 103                          Coconut Creek     FL      33073
                    Store No.   Store Name           Store Address                                   City               State   Zip
                      1078      Colorado Mills       14500 W Colfax Ave, Space 436                   Lakewood           CO      80401
                      1079      Parkside Commons     1164 Parkside Main Street                       Cary               NC      27519
                      1080      Gaslamp              450 5th Avenue, space 101                       San Diego          CA      92101
                      1081      Destin Commons       4340 Legendary Drive, Space B114                Destin             FL      32541
                      1082      Riverpark            540 Collection Boulevard                        Oxnard             CA      93036
Page 10 of 18




                      1083      Baybrook Mall        500 Baybrook Mall, S/B C128                     Friendswood        TX      77546
                      1084      Mall of America      270 North Garden                                Bloomington        MN      55425
                      1085      New City             1538 N Clybourn Ave, Space A115                 Chicago            IL      60642
                      1086      American Dream       1 American Dream Way Suite G134                 East Rutherford    NJ      07073
                      1088      Sundance Square      503 Main Street                                 Fort Worth         TX      76102
                      1089      Rockville            130 East Gibbs Street                           Rockville          MD      20850
Filed 09/23/20




                      1090      Liberty Center       7125 Haskell Street                             Liberty Township   OH      45069
                      1091      Great Lakes          4250 Baldwin Rd #608, Auburn Hills, MI          Auburn Hills       MI      48326
                      1092      Destiny              1 Destiny USA Drive, J308                       Syracuse           NY      13290
                      1093      Ocean City           952 Boardwalk, Unit A&B                         Ocean City         NJ      08226
                      1094      Mizner Park          339 Plaza Real                                  Boca Raton         FL      33432
                      1096      Wildwood             3008 Boardwalk Space #'s 308/310                Wildwood           NJ      08260
Doc 8




                      1097      One Daytona          1860 Victory Cir, Space #M120                   Daytona Beach      FL      32114
                      1098      Domain               11621 Rock Rose Blvd, Ste 100                   Austin             TX      78758
                      1099      Palisades Center     4522 Palisades Center Dr                        West Nyack         NY      10994
Case 20-20259-RAM




                      1100      Legacy Place         544 Legacy Place                                Dedham             MA      02026
                      1101      Easton               121 Easton Town Center                          Columbus           OH      43219
                      1102      Victory Park         2401 Victory Park Lane, Ste 170                 Dallas             TX      75219
                      1103      Grand Bazaar         3623 Las Vegas Blvd South, Ste 200              Las Vegas          NV      89109
                      1104      Navy Pier            600 E. Grand Ave, Space FP-12,                  Chicago            IL      60611
                      1105      Margaritaville       3230 Margaritaville Blvd, Ste E.140             Kissimmee          FL      34747
                      1106      Sawgrass Mills       12801 W Sunrise Boulevard, 307                  Sunrise            FL      33323
                      1108      Bayside Temp Store   401 Biscayne Blvd Space S151                    Miami              FL      33132
                      1110      Wynwood              2516 NW 2nd Ave Space B                         Miami              FL      33127
                      2025      FAO Schweetz         30 Rockefeller Plaza                            New York           NY      10111
                      4001      Darien NB            I95 Darien Northbound Rest stop (Exits 12-13)   Darien                CT   06820
                      4001      Darien NB            I95 Darien Northbound Rest stop (Exits 12-13)   Darien             CT      06820
                      4001      Darien NB            I95 Darien Northbound Rest stop (Exits 12-13)   Darien             CT      06820
                    Store No.   Store Name   Store Address                                    City      State   Zip
                      4002      Darien SB    I95 Darien Southbound Rest stop (Exits 10-9)     Darien      CT    06820
                      4002      Darien SB    I95 Darien Southbound Rest stop (Exits 10-9)     Darien    CT      06820
                      4003      Milford SB   I95 Milford Southbound Rest stop (Exits 41-40)   Milford     CT    06460
                      4003      Milford SB   I95 Milford Southbound Rest stop (Exits 41-40)   Milford   CT      06460
Page 11 of 18
Filed 09/23/20
Doc 8
Case 20-20259-RAM
                 Case 20-20259-RAM             Doc 8      Filed 09/23/20       Page 12 of 18



                                                 SCHEDULE I




        All of Debtor's right, title and interest now or hereafter acquired in and to the following (the
-Collateral"):


                  (a) All accounts, and all chattel paper, instruments, deposit accounts, letter of credit rights,
        and general intangibles related thereto; and all returned or repossessed goods which, on sale or
        lease, resulted in an account.


                  (b) All inventory.


                  (c) All equipment and fixtures now owned or hereafter acquired by the Debtor, (including,
        but not limited to. the equipment described in the attached Equipment Description, if any).


                  (d)   All of the Debtors deposit accounts with the Secured Party. The Collateral shall
        include any renewals or rollovers of the deposit accounts, any successor accounts, and any general
        intangibles and choses in action arising therefrom or related thereto.


                  (e)   All instruments, chattel paper, documents, certificates of deposit, securities and
        investment property of every type.


                  (f)   All general intangibles. The Collateral shall include all good will connected with or
        symbolized by any of such general intangibles.


                  (g) All negotiable and nonnegotiable documents of title covering any Collateral.


                  (h) All accessions, attachments and other additions to the Collateral, and all tools, parts
        and equipment used in connection with the Collateral.


                  (i)   All substitutes or replacements for any Collateral, all cash or non-cash proceeds
        (including insurance proceeds), products, rents and profits of the Collateral, and all income, benefits
        and property receivable on account of the Collateral, and all supporting obligations covering any
        Collateral.


                  (j)   All books, data and records pertaining to any Collateral, whether in the form of a
        writing, photograph, microfilm or electronic media, including but not limited to any computer-
        readable memory and any computer software necessary to process such memory.


        Notwithstanding the foregoing, the Collateral shall not, in any event, include any of the following
(collectively,   the "Excluded    Property"): (a) equity interests in      entities (other than wholly -owned
subsidiaries of It'Sugar LLC, a Delaware limited liability company ("Borrower")) to the extent requiring
consent of any third party or causing a default under the organizational documents of such entity; (b) any




                                                                                                       EXHIBIT B
                Case 20-20259-RAM             Doc 8      Filed 09/23/20       Page 13 of 18




lease, license or other agreement or contract or any property subject to a purchase money security interest,
lien securing a capital lease or similar arrangement, in each case permitted to be incurred under the Credit
Agreement dated as of August 24, 201 8, by and between Secured Party and Borrower (as amended, restated,
supplemented and otherwise modified from time to time, the "Credit Agreement"), to the extent that a grant
of a security interest or lien therein would require a consent not obtained or violate or invalidate such lease,
license or agreement or contract or purchase money arrangement, capital lease or similar arrangement or
create a right of termination in favor of any other party thereto (other than the Debtor or its w holly owned
subsidiaries), in each case after giving effect to the applicable anti-assignment provisions of the Uniform
Commercial Code as in effect from time to time in the State of Florida or any other applicable jurisdiction
(the "UCC") and other applicable law and other than proceeds and receivables thereof, the assignment of
which is expressly deemed effective under the UCC or other applicable law notwithstanding such
prohibition; (c) any property- subject to a Lien securing purchase money Indebtedness or Indebtedness under
a capital lease that is permitted under the Credit Agreement, to the extent the grant of the Secured Party's
Lien on such property is prohibited under or would result in a breach of the terms of any document
governing such Indebtedness; (d) any asset or property to the extent that the pledge thereof or the grant of
a security interest therein is prohibited by applicable law, rule or regulation, in each case after giving effect
to the applicable anti-assignment provisions of the UCC and other applicable law and other than proceeds
and receivables thereof, the assignment of which is expressly deemed effective under the UCC or other
applicable law notwithstanding such prohibition; (e) any intent to use trademark applications prior to the
filing and acceptance with the United States Patent and Trademark Office of a "Statement of Use" or
"Amendment to Allege Use" with respect thereto, to the extent that, and solely during the period, if any, in
which, the grant of a security interest therein would impair the validity or enforceability of such intent-to-
use trademark application under applicable federal law; (f) equity interests of any "controlled foreign
corporation" within the meaning of Section 957(a) of the Internal Revenue Code of 1986, as amended (a
"CFC") or any direct or indirect subsidiary of Debtor that owns no material assets other than the equity
interests (or equity interests and Indebtedness) of one or more CFCs or FSCHCOs (a "FSHCO") other than
in the case of any first-tier CFC or first-tier FSHCO, the capital stock of such CFC or FSHCO not in excess
of 65% of the issued and outstanding voting capital stock and 1 00% of the issued and outstanding non
voting capital stock of such CFC or FSIICO; (g) any deposit accounts, securities accounts or similar
accounts owned by Debtor that are (i) zero balance accounts, (ii) payroll accounts, (iii) withholding and
trust accounts, (iv) escrow accounts (to the extent maintained exclusively by the Debtor and its subsidiaries
for the purpose of establishing or maintaining escrow amounts for third parties), (v) employee benefit
accounts, (vi) 401(k) accounts, (vii) pension fund accounts, (viii) tax withholding accounts (to the extent
maintained by the Debtor and its subsidiaries exclusively for the purposes of maintaining or holding tax
withholding amounts payable to applicable governmental authorities); and (i) those assets, if any, as to
which the Secured Party and the Debtor reasonably agree in writing that the cost of obtaining such a security-
interest or perfection thereof are excessive in relation to the benefit to the Secured Party of the security to
be afforded thereby; provided, however, that "Excluded Property" shall not include any proceeds, products,
substitutions or replacements of any Excluded Property (unless such proceeds, products, substitutions or
replacements would otherwise constitute Excluded Property).




                                             Schedule I - Page 2
                    Named      Entity     Policy Type                   Policy      Insurer               Policy      Policy     Broker    Premium incl taxes,   Broker Contact Info           BBX




                                                                                                                                                                                                         EXHIBIT C
                    Insured    Covered                                  Number                            Inception   Expiration           surch, fees                                         Master
                                                                                                                                                                                               Program
                    It'Sugar   It'Sugar   General Liability-$5K ded     CC8GL000 Everest Premier          08/01/20    08/01/21   AJG       $64,517.00            Gladys Matthews               NO
                    LLC        LLC                                      30-201   Insurance Company                                                               Gladys_Matthews@ajg.com
                                                                                                                                                                 713-358-5892
                    It'Sugar   It'Sugar   Workers Compensation          CC8WC000 Everest Premier          08/01/20    08/01/21   AJG       $184,710.00           Gladys Matthews               NO
                    LLC        LLC                                      32-201   Insurance Company                                                               Gladys_Matthews@ajg.com
                                                                                                                                                                 713-358-5892
Page 14 of 18




                    It'Sugar   It'Sugar   D&O, EPL, Fiduciary ERP 6 ML7602205 Argonaut Insurnace          10/30/16    06/16/23   AMWINS/R $24,494.00             Unknown                       NO
                    LLC        LLC        Years                     00                                                           mpart
                                                                                                                                 Brokerage
                    It'Sugar   It'Sugar   Product Recall Expense        BGPR0270 Berkley Assurance        08/01/20    08/01/21   RMS-      $3,252.90             Ed Perdomo                    NO
                    LLC        LLC                                      02                                                       Maximum                         EdP@MAXIB.com          813-
                                                                                                                                                                 999-4976
                    It'Sugar   It'Sugar   Rep & Warranty                W1F0A717 Lloyds                   06/16/17    06/16/23   Marsh     $315,300.00           Kevin Rogan                   NO
                    LLC        LLC                                      0101                                                                                     Kevin.P.Rogan@marsh.com
Filed 09/23/20




                                                                                                                                                                 954-838-3506
                    BBX        It'Sugar   Foreign Commercial Package WR100010 World Source                08/01/20    08/01/21   AJG       $0.00                 Toni Hartman                  YES
                    Capital    LLC                                   19                                                                                          Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
                    BBX        It'Sugar   Active Shooter & Malicious    UTS256245 Hiscox                  03/28/20    03/28/21   Maximum- $809.49                Toni Hartman                  YES
                    Capital    LLC        Attack Property & Liability   020                                                      RMS                             Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
Doc 8




                    BBX        It'Sugar   Network Liability- $6M        01-382-47- National Union Fire    06/01/20    06/01/21   NFP       $10,035.00            Toni Hartman                  YES
                    Capital    LLC        primary                       16         Insurance Co of Pitt                                                          Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
Case 20-20259-RAM




                    BBX        It'Sugar   Network Liability- $4M        100038655 QBE                     06/01/20    06/01/21   NFP       incl above            Toni Hartman                  YES
                    Capital    LLC        excess                                                                                                                 Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
                    BBX        It'Sugar   Excess-$15M xs $15M           CX00DEQ2 Aspen                    08/01/20    08/01/21   AJG       $85,562.00            Toni Hartman                  YES
                    Capital    LLC                                      0                                                                                        Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
                    BBX        It'Sugar   Umbrella -$15M                XC5EX010 Everest National         08/01/20    08/01/21   AJG       incl above            Toni Hartman                  YES
                    Capital    LLC                                      80-021                                                                                   Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
                    BBX        It'Sugar   Special Crime                 UKA30107 Hiscox                   05/17/19    05/17/22   JLT       $500.00               Toni Hartman                  YES
                    Capital    LLC                                      57.19                                                                                    Antoinette.Hartman@bluegree
                    Corp                                                                                                                                         nvacations.com
                                                                                                                                                                 561-912-7849
                    Named     Entity     Policy Type                Policy      Insurer                Policy      Policy     Broker   Premium incl taxes,   Broker Contact Info           BBX
                    Insured   Covered                               Number                             Inception   Expiration          surch, fees                                         Master
                                                                                                                                                                                           Program
                    BBX       It'Sugar   Property (10% of $10M      CX        Ace American             04/01/20    04/01/21   AJG      $181,950.44           Toni Hartman                  YES
                    Capital   LLC        Primary)                   D42304426 Insurance Company                                                              Antoinette.Hartman@bluegree
                    Corp                                            001                                                                                      nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (20% of $10M      ESP300016 Endurance American       04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        Primary)                   01500     Specialty Insurance                                                            Antoinette.Hartman@bluegree
Page 15 of 18




                    Corp                                                      Company                                                                        nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (15% of $10M      100040256 Ironshore                04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        Primary)                   2-01                                                                                     Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property ($10M Primary)    EW009722 Lloyds Underwriter        04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC                                   0                                                                                        Antoinette.Hartman@bluegree
Filed 09/23/20




                    Corp                                                                                                                                     nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (5% of $10M       DF0001066 National Fire & Marine 04/01/20      04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        Primary)                   4         Ins Co (Kemah                                                                  Antoinette.Hartman@bluegree
                    Corp                                                      Capital)                                                                       nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (10% of $15M xo   ELF636879- AXIS Surplus            04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $10M)                      20         Insurance Company                                                             Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
Doc 8




                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (23.33% of $15M xo 000658923 Lexington Insurance     04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $10M)                       0         Company                                                                       Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
Case 20-20259-RAM




                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property ($15M xo $10M)    EW009742 Lloyds Channel            04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC                                   0                                                                                        Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (11.33% of $15M xo 20-ASC-    Various - Risk Smith   04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $10M)                       0015B                                                                                   Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (20% of $25M xo   ESP300016 Endurance American       04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        deductibles)               01500     Specialty Insurance                                                            Antoinette.Hartman@bluegree
                    Corp                                                      Company                                                                        nvacations.com
                                                                                                                                                             561-912-7849
                    BBX       It'Sugar   Property (15% of $25M xo   W233D220 (Beazley) Underwriters 04/01/20       04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        deductibles)               0301     at Lloyds London                                                                Antoinette.Hartman@bluegree
                    Corp                                                                                                                                     nvacations.com
                                                                                                                                                             561-912-7849
                    Named     Entity     Policy Type                 Policy     Insurer               Policy      Policy     Broker   Premium incl taxes,   Broker Contact Info           BBX
                    Insured   Covered                                Number                           Inception   Expiration          surch, fees                                         Master
                                                                                                                                                                                          Program
                    BBX       It'Sugar   Property ($25M Primary)     EW009662 Lloyds Argo             04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC                                    0                                                                                      Antoinette.Hartman@bluegree
                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (8.33% of $25M x/o PX00G6Y2 Aspen Specialty         04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $25M)                       0        Insurance Co                                                                  Antoinette.Hartman@bluegree
Page 16 of 18




                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (20% of $25M x/o   D42265925 Westchester Surplus    04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $25M)                       002       Lines Insurance                                                              Antoinette.Hartman@bluegree
                    Corp                                                       Company                                                                      nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (100% of $25M x/o Various     QBE Specialty Ins,   04/01/20     04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $100M)                                 General Security                                                            Antoinette.Hartman@bluegree
Filed 09/23/20




                    Corp                                                        Indemnity Co of AZ &                                                        nvacations.com
                                                                                Starstone Specialty                                                         561-912-7849
                    BBX       It'Sugar   Property (15% of $50M xo    01-B-XP- Ategrity Specialty      04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $50M)                       00003665-0 Insurance Co                                                                Antoinette.Hartman@bluegree
                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (10% of $50M xo    73PRX20A Hallmark Specialty Ins 04/01/20     04/01/21   AJG      incl above            Toni Hartman                  YES
Doc 8




                    Capital   LLC        $50M)                       55A      Company                                                                       Antoinette.Hartman@bluegree
                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property ($50M x/o $50M)    EW009772 Lloyds Fidelis          04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC                                    0                                                                                      Antoinette.Hartman@bluegree
Case 20-20259-RAM




                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (20% of $75M x/o   CA3X0015 Everest Indemnity Ins   04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $25M)                       93-201   Co                                                                            Antoinette.Hartman@bluegree
                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (33.33% of $75M xo SLSTPTY1 Starr Surplus Lines     04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $25M)                       1286320  Insurance Co                                                                  Antoinette.Hartman@bluegree
                    Corp                                                                                                                                    nvacations.com
                                                                                                                                                            561-912-7849
                    BBX       It'Sugar   Property (10% of $75M x/o   Various    Velocity (Independent 04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $25M)                                  Specialty Ins Co;                                                           Antoinette.Hartman@bluegree
                    Corp                                                        Interstate Fire & Cas                                                       nvacations.com
                                                                                Co; Certain                                                                 561-912-7849
                                                                                Underwriters at Lloyds)
                    Named     Entity     Policy Type                   Policy     Insurer               Policy      Policy     Broker   Premium incl taxes,   Broker Contact Info           BBX
                    Insured   Covered                                  Number                           Inception   Expiration          surch, fees                                         Master
                                                                                                                                                                                            Program
                    BBX       It'Sugar   Property (8.33% of $90M x/o MKLV14X Evanston Insurance Co 04/01/20         04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC        $10M)                       P013853                                                                                  Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   Terrorism Policy              FC0272220 Underwriters at Lloyds 04/01/20    04/01/21   AJG      incl above            Toni Hartman                  YES
                    Capital   LLC                                                London                                                                       Antoinette.Hartman@bluegree
Page 17 of 18




                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   Employment Practices          QPL-       QBE                   11/15/19    11/15/20   Marsh    $7,939.62             Toni Hartman                  YES
                    Capital   LLC        Liability ($5 M xs $500K)     1181993                                                                                Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   Employment Practices          V2533F190 Beazley                11/15/19    11/15/20   Marsh    $4,820.48             Toni Hartman                  YES
                    Capital   LLC        Liability Excess ($3 xo $5)   201                                                                                    Antoinette.Hartman@bluegree
Filed 09/23/20




                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   Directors & Officers ($10     PE2002178 Beazley                08/10/20    08/10/21   NFP      $5,901.75             Toni Hartman                  YES
                    Capital   LLC        M/$1M retention)                                                                                                     Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   1st Excess D&O ($5 xs $10)    100040384 QBE                    08/10/20    08/10/21   NFP      $1,859.00             Toni Hartman                  YES
                    Capital   LLC                                                                                                                             Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
Doc 8




                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   2nd Excess D&O ($5xs $15) PE2002193 Hiscox                     08/10/20    08/10/21   NFP      $1,523.37             Toni Hartman                  YES
                    Capital   LLC                                                                                                                             Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
Case 20-20259-RAM




                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   3rd Excess $5M xs $20M        PE2002194 Starpoint              08/10/20    08/10/21   NFP      $1,234.46             Toni Hartman                  YES
                    Capital   LLC                                                                                                                             Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   4th Excess $5M xs $25M        DO2020108 CapSpecialty           08/10/20    08/10/21   NFP      $852.00               Toni Hartman                  YES
                    Capital   LLC                                      1-01                                                                                   Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   5th Excess $5M x $30M         MLX42616 Argo                    08/10/20    08/10/21   NFP      $1,100.00             Toni Hartman                  YES
                    Capital   LLC                                      23-0                                                                                   Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    BBX       It'Sugar   Side A DIC $10M               ELU169573- AXA XL                08/10/20    08/10/21   NFP      $900.00               Toni Hartman                  YES
                    Capital   LLC                                      20                                                                                     Antoinette.Hartman@bluegree
                    Corp                                                                                                                                      nvacations.com
                                                                                                                                                              561-912-7849
                    Named     Entity     Policy Type                  Policy      Insurer                Policy      Policy     Broker   Premium incl taxes,   Broker Contact Info           BBX
                    Insured   Covered                                 Number                             Inception   Expiration          surch, fees                                         Master
                                                                                                                                                                                             Program
                    BBX       It'Sugar   Excess Side A DIC $5M x      BPRO8053 Berkley                   08/10/20    08/10/21   NFP      $440.00               Toni Hartman                  YES
                    Capital   LLC        $10M                         327                                                                                      Antoinette.Hartman@bluegree
                    Corp                                                                                                                                       nvacations.com
                                                                                                                                                               561-912-7849
                    BBX       It'Sugar   Crime Coverage ($10M)        V20CB519 Beazley                   11/15/19    11/15/20   Marsh    $3,127.76             Toni Hartman                  YES
                    Capital   LLC                                     0301                                                                                     Antoinette.Hartman@bluegree
Page 18 of 18




                    Corp                                                                                                                                       nvacations.com
                                                                                                                                                               561-912-7849
                    BBX       It'Sugar   Crime Coverage -Excess       ELU164867- XL Specialty Ins. Co.   11/15/19    11/15/20   Marsh    $2,362.04             Toni Hartman                  YES
                    Capital   LLC        ($10M xs $10M)               19                                                                                       Antoinette.Hartman@bluegree
                    Corp                                                                                                                                       nvacations.com
                                                                                                                                                               561-912-7849
                    BBX       It'Sugar   Fiduciary Liability ($10 -   V20CCA19 Beazley                   11/15/19    11/15/20   Marsh    $25.52                Toni Hartman                  YES
                    Capital   LLC        $25k ret)                    0301                                                                                     Antoinette.Hartman@bluegree
Filed 09/23/20




                    Corp                                                                                                                                       nvacations.com
                                                                                                                                                               561-912-7849
                    BBX       It'Sugar   Fiduciary Liability Excess   QPL-        Beazley                11/15/19    11/15/20   Marsh    $8.72                 Toni Hartman                  YES
                    Capital   LLC                                     1167432                                                                                  Antoinette.Hartman@bluegree
                    Corp                                                                                                                                       nvacations.com
                                                                                                                                                               561-912-7849
Doc 8
Case 20-20259-RAM
